 Case: 1:13-cv-09323 Document #: 102 Filed: 04/13/15 Page 1 of 1 PageID #:912

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

Eloise Lockhart
                                         Plaintiff,
v.                                                         Case No.: 1:13−cv−09323
                                                           Honorable Thomas M. Durkin
HSBC Finance Corporation, et al.
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 13, 2015:


        MINUTE entry before the Honorable Thomas M. Durkin: Motion hearing held.
Plaintiff's motion for summary judgment [100] is denied. The case will remain stayed
until the state court litigation terminates. Status hearing is set for 5/26/2015 at 9:00 a.m.
Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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